Case 1:16-cv-03526-JMS-DML Document 1 Filed 12/30/16 Page 1 of 6 PageID #: 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          )                 CASE NO.: 1:16-cv-03526
              Plaintiff,                  )
vs.                                       )
                                          )
NAPIER LEGACY LLC,                        )
an Indiana Limited Liability Company,     )
                                          )
                                          )
              Defendant.                  )
_________________________________________ )

                                         COMPLAINT

       Plaintiff, DENNIS TOOLEY, through his undersigned counsel, hereby files this

Complaint and sues NAPIER LEGACY LLC, an Indiana Limited Liability Company, for

injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, DENNIS TOOLEY (hereinafter referred to as “MR. TOOLEY”), is a

resident of the State of Indiana in Johnson County.




                                                1
Case 1:16-cv-03526-JMS-DML Document 1 Filed 12/30/16 Page 2 of 6 PageID #: 2



           4.        Plaintiff, MR. TOOLEY, is a qualified individual with a disability under the

ADA. MR. TOOLEY suffers from Multiple Sclerosis, which causes severe nerve damage and

affects his ability to walk and stand.

           5.       Due to his disability, Plaintiff MR. TOOLEY is substantially impaired in several

major life activities and requires the use of mobility aids including a wheelchair, walker and/or a

cane depending on his level of pain and fatigue on a daily basis 1.

           6.       Defendant, NAPIER LEGACY LLC, (hereinafter referred to as “Napier” or

collectively as “Defendant”), is an Indiana Limited Liability Company registered to do business

in the State of Indiana. As per County property records, Defendant is the owner, lessee, and/or

operator of the real property and improvements, a fast food restaurant, which is the subject of

this action, to wit: the “Property,” known as Dairy Queen, generally located at 99 South US-31,

Whiteland, IN 46184. Defendant is responsible for complying with the obligations of the ADA.

           7.       All events giving rise to this lawsuit occurred in the Southern District of Indiana.

                            COUNT I - VIOLATION OF TITLE III OF THE
                              AMERICANS WITH DISABILITIES ACT

           8.       Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

           9.       The Property, a fast food restaurant, is open to the public and provides goods and

services to the public.

           10.      Plaintiff MR. TOOLEY has visited the Property numerous times over the past

year and attempted to utilize the goods and services offered at the Property. MR. TOOLEY

plans to return to the Property in the near future.


1
    Mr. Tooley is capable of walking very short distances without assistance on good days.

                                                           2
Case 1:16-cv-03526-JMS-DML Document 1 Filed 12/30/16 Page 3 of 6 PageID #: 3



         11.   While at the Property, MR. TOOLEY experienced serious difficulty accessing the

goods and utilizing the services due to the architectural barriers discussed herein.

         12.   MR. TOOLEY continues to desire to visit the Property, but fears that he will

again encounter serious difficulty and safety hazards due to the barriers discussed herein which

still exist.

         13.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et

seq. and is discriminating against the Plaintiff due to, but not limited to, its failure to provide

and/or correct, the architectural barriers to access below, which were personally encountered by

and hindered Plaintiff’s access to the Property:

               A.      Plaintiff encountered inaccessible parking designated for disabled use in

                       the restaurant parking lot due to Defendant’s failure to provide any fully

                       accessible parking spaces.      Specifically, the one disabled use parking

                       space offered at the Property lacks a sign to designate it exclusively for

                       disabled use, has pavement in disrepair, lacks an adjacent access aisle, has

                       narrow width and lacks an accessible route to the restaurant entrance.

                       Additionally, since this is the only disabled use parking space provided at

                       the Property, it must be a “van accessible” type. However, it lacks the

                       proper dimensions for van access.

               B.      Plaintiff encountered inaccessible curb ramps at the Property due to a lack

                       of smooth transitions. Consequently, each of the ramps have a one (1)

                       inch lip at the bottom and present a safety hazard for disabled patrons.




                                                   3
Case 1:16-cv-03526-JMS-DML Document 1 Filed 12/30/16 Page 4 of 6 PageID #: 4



               C.      Plaintiff encountered inaccessible sidewalks from the aforementioned curb

                       ramps to the main entrances due to obstructions which block the clear

                       width of the sidewalk.

               D.      Plaintiff encountered an inaccessible restroom at the Property due to due

                       to improper grab bar length and placement, lack of insulation under the

                       sink, high mirror placement and toilet flush handle located on the narrow

                       side of the toilet instead of the open side.

       15.     Plaintiff has visited the entire premises described herein and encountered

numerous barriers throughout. The barriers described above represent a sample of said barriers

to access. Only after a full inspection is performed by an expert can all barriers be readily

identified and catalogued.

       16.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       17.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on Defendant.

       18.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       19.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                     PRAYER FOR RELIEF



                                                  4
Case 1:16-cv-03526-JMS-DML Document 1 Filed 12/30/16 Page 5 of 6 PageID #: 5



       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned, leased and/or

               operated by Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its

               facility to make it accessible and useable by individuals with

               disabilities to the full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow Defendant to

               undertake and complete corrective procedures.

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and

       E.      That the Court awards such other and further relief as it deems

               necessary, just and proper.


       Dated: December 30, 2016.
                                               Respectfully Submitted,

                                               KU & MUSSMAN, P.A.


                                      By:      Louis I. Mussman            .
                                               Louis I. Mussman, Esq.
                                               Bar No. 597155
                                               Ku & Mussman, P.A.
                                               6001 NW 153rd Street, Suite 100
                                               Miami Lakes, FL 33014
                                               Tel: (305) 891-1322


                                                  5
Case 1:16-cv-03526-JMS-DML Document 1 Filed 12/30/16 Page 6 of 6 PageID #: 6



                                   Fax: (305) 891-4512
                                   Louis@KuMussman.com

                                   and

                                   Eric C. Bohnet, Esq.
                                   Attorney No. 24761-84
                                   Attorney at Law
                                   6617 Southern Cross Drive
                                   Indianapolis, Indiana 46237
                                   Tel: (317) 750-8503
                                   ebohnet@gmail.com

                                   Attorneys for Plaintiff




                                      6
